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                             UNITED STATES DISTRICT COURT

                     FOR THE CENTRAL DISTRICT OF CALIFORNIA


  BRANDON JOE WILLIAMS®,                            No. 2:24-cv-09553-RGK-SK

               Plaintiff,                           [PROPOSED] ORDER GRANTING
                                                    PLAINTIFF’S MOTION FOR
                       v.
                                                    VOIDING THE ORIGINAL REMOVAL
  UNITED STATES SMALL BUSINESS                      FROM STATE OF CALIFORNIA
  ADMINISTRATION,                                   COURT AS WELL AS THE
                                                    JUDGEMENT FROM 12/30/24 [DCKT
               Defendant.                           #1 AND #23]


                                                    Honorable R. Gary Klausner
                                                    United States District Judge


TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD

​                     Having reviewed Plaintiff’s Motion to void the original removal from State of
California court, the Court finds that it erred in allowing this most Honorable court to accept removal
under incorrect grounds. State of California is not under the exclusive jurisdiction of the national
government and cannot be exercised in the District of Columbia under 4 USC 72.

IT IS HEREBY ORDERED that Plaintiff’s Motion to void the original removal from State of
California is GRANTED. This case is to be immediately remanded back to State of California for
foreign adjudication under foreign jurisdiction.



IT IS SO ORDERED.

DATED: ________________ ​             ​      BY: _____________________________
                                             Honorable R. Gary Klausner
                                             United States District Judge
